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                                   1                    IN THE UNITED STATES DISTRICT COURT

                                   2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4   JUAN QUINTANILLA VASQUEZ,                No. 17-cv-00755-CW
                                       GABRIELA PERDOMO ORTIZ, and
                                   5   VICTOR HUGO CATALAN MOLINA,
                                       individually and on behalf of            ORDER ON MOTION TO COMPEL,
                                   6   all others similarly situated,           MOTION TO DISMISS, AND MOTION
                                                                                FOR SANCTIONS
                                   7                Plaintiffs,

                                   8         v.                                 (Dkt Nos. 34, 35, 65)
                                   9   LIBRE BY NEXUS, INC.,
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  United States District Court




                                  10                Defendant.

                                  11
                                            Before the Court are three motions.        Defendant Libre by
                                  12
                                       Nexus, Inc. brings a motion to compel arbitration, a motion to
                                  13
                                       dismiss, and a motion for sanctions pursuant to Federal Rule of
                                  14
                                       Civil Procedure 11.       Plaintiffs Juan Quintanilla Vasquez,
                                  15
                                       Gabriela Perdomo Ortiz, and Victor Hugo Catalan Molina oppose
                                  16
                                       these motions.    On August 14, 2018, the parties appeared for a
                                  17
                                       hearing.   Having considered the papers and the arguments of
                                  18
                                       counsel, the Court DENIES the motion to compel arbitration,
                                  19
                                       GRANTS the motion to dismiss in part, and DENIES the motion for
                                  20
                                       sanctions.
                                  21
                                                                        BACKGROUND
                                  22
                                            Libre by Nexus, Inc. (LBN) is a Virginia corporation with
                                  23
                                       its principal place of business in Verona, Virginia.          Docket No.
                                  24
                                       28 (Second Amended Complaint (SAC)) ¶ 14.        LBN provides services
                                  25
                                       to families seeking the release of their family members from
                                  26
                                       immigrant detention.       See id. ¶ 3, Declaration of David Dow See
                                  27
                                       III (Dow See Decl.) ¶ 1.
                                  28
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                                   1          Vasquez and Ortiz are from Honduras.      SAC ¶¶ 71, 88.
                                   2   Molinas is from Mexico.     Id. ¶ 106.    All three crossed the
                                   3   Mexico-United States border to seek asylum because they were
                                   4   targets for violence in their home countries.         Id. ¶¶ 71, 88,
                                   5   106.   They were each detained by United States Immigration and
                                   6   Customs Enforcement (ICE).     Id. ¶¶ 72, 89, 107.      While they were
                                   7   detained, their spouses contacted LBN to assist with their
                                   8   release.    Id. ¶¶ 75, 92, 110.
                                   9          Vasquez crossed the border on December 1, 2015 and was
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                                  10   detained in Texas.    Id. ¶ 72.    The bond for his release was set
                                  11   at $10,000.   Id. ¶ 73.    LBN helped arrange for his release on
                                  12   February 10, 2016.    Id. ¶ 75; Dow See Decl. ¶¶ 2-3.        On that same
                                  13   day, an LBN representative picked him up, dined with him, gave
                                  14   him a cell phone to call his family, and drove him approximately
                                  15   five hours to LBN’s offices in San Antonio, Texas.         Dow See Decl.
                                  16   ¶ 4.   At the LBN office, later that same day, the LBN
                                  17   representative presented Vasquez with disclosures and agreements
                                  18   written in English and discussed some portions of the agreements
                                  19   with him in Spanish.    Id. ¶ 5; SAC ¶ 78.      He then signed the
                                  20   agreements.   Id.
                                  21          Ortiz crossed the border on April 2, 2015 and was detained
                                  22   in Texas.   Id. ¶ 89.   Her bond was set at $20,000.       Id. ¶ 90.   On
                                  23   June 2, 2015, her spouse contacted LBN, which helped arrange for
                                  24   issuance of a bond for $20,000 by Statewide Bonding Company the
                                  25   following day.   Id. ¶ 92; Dow See Decl. ¶ 8.       Upon her release,
                                  26   an LBN representative also picked her up, dined with her, gave
                                  27   her a cell phone, and drove her approximately five hours to LBN’s
                                  28   offices in San Antonio.     Dow See Decl. ¶ 9.     On June 4, 2015, the
                                                                            2
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                                   1   LBN representative presented Ortiz with disclosures and
                                   2   agreements written in English and discussed some portions of the
                                   3   agreements with her in Spanish.      Id. at ¶ 10.      She then signed
                                   4   the agreements.    Id.
                                   5        On December 18, 2015, Molina crossed the border and was
                                   6   detained in San Diego, California.       SAC ¶ 107.    His bond was set
                                   7   at $10,000.   Id. ¶ 108.    On February 9, 2016, Molina’s spouse
                                   8   contacted LBN about his release.      Id. ¶ 110; Dow See Decl. ¶ 12.
                                   9   LBN arranged for a bond to be posted two days later, on February
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                                  10   11, 2016.   Id. ¶ 13.    When Molina was released on February 11,
                                  11   2016, an LBN representative picked him up, gave him a cell phone,
                                  12   and drove him about thirty minutes to LBN’s office in San Diego.
                                  13   Id. ¶ 14.   Later that same day, the LBN representative presented
                                  14   Molina with disclosures and agreements written in English and
                                  15   discussed portions of the agreements with him in Spanish.         Id.
                                  16   ¶¶ 15-16.   He then signed the agreements.       Id.
                                  17        All three Plaintiffs signed a GPS Monitoring and Disclosure
                                  18   Statement (GPS Monitoring Agreement), whereby they agreed to wear
                                  19   a GPS electronic tracking device on their ankles.         Dow See Decl.,
                                  20   Ex. B (Vasquez agreements), Ex. D (Ortiz agreements), and Ex. F
                                  21   (Molina agreements).     The GPS Monitoring Agreement contained the
                                  22   following arbitration provision:
                                  23        IN THIS ARBITRATION CLAUSE, “YOU” REFERS TO THE
                                            RESPONDENT. EITHER NEXUS PROGRAMS OR RESPONDENT MAY
                                  24        CHOOSE TO HAVE ANY DISPUTE BETWEEN THEM DECIDED BY
                                            ARBITRATION AND NOT IN COURT OR BY JURY TRIAL. IF A
                                  25        DISPUTE IS ARBITRATED, YOU WILL GIVE UP YOUR RIGHT TO
                                            PARTICIPATE AS A CLASS REPRESENTATIVE OR CLASS MEMBER
                                  26        ON ANY CLASS CLAIM YOU MAY HAVE AGAINST NEXUS
                                            PROGRAMS, INCLUDING ANY RIGHT TO CLASS ARBITRATION OR
                                  27        ANY CONSOLIDATION OF INDIVIDUAL ARBITRATIONS.
                                            DISCOVERY AND RIGHTS TO APPEAL IN ARBITRATION ARE
                                  28        GENERALLY MORE LIMITED THAN IN A LAWSUIT, AND OTHER
                                                                        3
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                                              RIGHTS THAT BUYER WOULD HAVE MAY NOT BE AVAILABLE IN
                                   1          ARBITRATION.
                                   2          Any claim or dispute, whether in contract, tort,
                                              statute or otherwise (including the interpretation and
                                   3          scope of this Paragraph/Clause, and the arbitrability
                                              of the claim or dispute), between Respondent and Nexus
                                   4          Programs or its/their employees, agents, successors or
                                              assigns, which arise out of or relate to this Agreement
                                   5          or any resulting transaction or relationship (including
                                              any such relationship with third parties who do not
                                   6          sign this Agreement) shall, at the election of
                                              Respondent or Nexus, be resolved by neutral, binding,
                                   7          arbitration and not by a court action. Any claim or
                                              dispute is to be arbitrated by a single arbitrator on
                                   8          an individual basis and not as a class action.
                                              Respondent expressly waives any right Respondent may
                                   9          have to arbitrate a class action. Respondent may
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                                              choose any one of the following arbitration
                                  10          organizations and its applicable rules: the American
                                              Arbitration Association, 335 Madison Ave., Floor 10,
                                  11          New York, NY 10017-4605 (www.adr.org) or JAMS, 1920
                                              Main St., Ste. 300, Irvine, CA 92614 (www.jamsadr.com).
                                  12          Respondent may get a copy of the rules of these
                                              organizations by contacting the arbitration
                                  13          organization or visiting its website.
                                  14          The sole Spanish document provided to Plaintiffs contains
                                  15   only five key points.     SAC ¶ 29, Ex. A.     It does not list the
                                  16   $420 monthly rental payment or the arbitration clause.            See id.
                                  17          On February 15, 2017, Plaintiffs filed a putative class
                                  18   action on behalf of themselves and a class of similarly situated
                                  19   individuals.   Docket No. 1 (Complaint).       On June 9, 2017,
                                  20   Plaintiffs amended their complaint.       SAC.   Plaintiffs allege that
                                  21   LBN preys on Spanish-speaking migrant detainees’ vulnerability
                                  22   and limited understanding of English “to foist crushing financial
                                  23   terms and GPS shackles” on them “in exchange for its ‘service’ of
                                  24   arranging for a third party to post [their] bonds.”          SAC ¶¶ 1-3.
                                  25   LBN advertises in English and gives detainees lengthy English-
                                  26   language disclosures and agreements to sign, despite knowing that
                                  27   almost all detainees speak Spanish and cannot speak English.           Id.
                                  28   ¶ 4.   LBN provides detainees with a one-page “key facts” sheet in
                                                                         4
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                                   1   Spanish, which provides only five points and omits crucial

                                   2   information about fees and dispute resolution.            Id. ¶¶ 26-27, 29.

                                   3   LBN also intimidates detainees by creating the false impression

                                   4   that it is associated with ICE and can order the detention of

                                   5   immigrants.      Id. ¶¶ 30-31, 40.     LBN charges exorbitant fees

                                   6   relative to other bond companies and misrepresents the amount and

                                   7   nature of the fees.       Id. ¶¶ 5, 23-24, 32-34.      For example, LBN

                                   8   requires clients to wear a GPS ankle bracelet, which it leases to

                                   9   clients for an $880 activation fee plus $420 a month until the
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                                  10   bond is cancelled.        Id. ¶¶ 23-24, 32-33.     These fees do not go

                                  11   towards repayment of the clients’ debt and are disproportionate

                                  12   to the actual cost of the bracelet.          Id. ¶¶ 58-68.    The fees

                                  13   compensate LBN excessively for arranging immigration bonds with

                                  14   third parties.      Id.   LBN also makes numerous other

                                  15   misrepresentations and charges other hidden fees.            See, e.g., id.

                                  16   ¶¶ 41, 45-61.      Plaintiffs brought claims under the (1) “unfair,”

                                  17   “fraudulent,” and “unlawful” prongs of the California Unfair

                                  18   Competition Law (UCL), Business & Professions Code §§ 17200 and

                                  19   17500, et seq.; (2) the California Consumers’ Legal Remedies Act

                                  20   (CLRA), California Civil Code §§ 1750, et seq.; (3) the

                                  21   California Translation Act (CTA), California Civil Code § 1632;

                                  22   (4) the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C.

                                  23   §§ 1692-1692(p); and (5) the Rosenthal Fair Debt Collection

                                  24   Practices Act (RFDCPA), California Civil Code §§ 1788-1788.32.

                                  25                                     DISCUSSION
                                  26   I.      Motion to compel arbitration
                                  27           A.   Legal standard
                                  28           The Federal Arbitration Act (FAA) provides that any
                                                                               5
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                                   1   agreement within its scope “shall be valid, irrevocable, and

                                   2   enforceable, save upon such grounds as exist at law or in equity

                                   3   for the revocation of any contract.”        9 U.S.C. § 2.    The FAA

                                   4   represents a “liberal federal policy favoring arbitration

                                   5   agreement, notwithstanding any state substantive or procedural

                                   6   policies to the contrary.”     Moses H. Cone Mem’l Hosp. v. Mercury

                                   7   Constr. Corp., 460 U.S. 1, 24 (1983).        A party to a valid

                                   8   arbitration agreement may petition a federal district court “for

                                   9   an order directing that such arbitration proceed in the manner
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                                  10   provided for in such agreement.”         9 U.S.C. § 4.   In considering a

                                  11   motion to compel arbitration, a court should consider “whether a

                                  12   valid arbitration agreement exists” and “whether the agreement

                                  13   encompasses the dispute at issue.”        Lifescan, Inc. v. Premier

                                  14   Diabetic Servs., Inc., 363 F.3d 1010, 1012 (9th Cir. 2004).            If

                                  15   so, the court should enforce the agreement.        Id.

                                  16        B.      Discussion
                                  17        LBN moves to compel arbitration of Plaintiffs’ claims

                                  18   pursuant to the arbitration clause in the GPS Monitoring

                                  19   Agreement.    LBN contends that the arbitration clause is a valid

                                  20   arbitration agreement that encompasses the dispute at issue.

                                  21   Plaintiffs disagree.      They first assert that the arbitration

                                  22   clause is invalid because there was no mutual assent and that it

                                  23   is unenforceable under McGill v. Citibank, N.A., 2 Cal. 5th 945

                                  24   (2017), and the CTA.      Plaintiffs then assert that the arbitration

                                  25   clause does not cover their asserted claims.

                                  26                1.   Fraud in the execution
                                  27        Plaintiffs contend that the motion to compel arbitration

                                  28   cannot be granted because there was fraud in the execution of the
                                                                            6
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                                   1   arbitration clause.    If there is fraud in the execution of the

                                   2   agreement, such that “the promisor is deceived as to the nature

                                   3   of his act,” then “mutual assent is lacking” and the contract is

                                   4   void.    Rosenthal v. Great W. Fin. Sec. Corp., 14 Cal. 4th 394,

                                   5   415 (1996).    This theory can apply to void arbitration clauses.

                                   6   Id. at 415-16.    To succeed on this theory, Plaintiffs must show:

                                   7   (1) misrepresentation and (2) reasonable reliance on that

                                   8   misrepresentation.    Id. at 419–20; Ramos v. Westlake Servs. LLC,

                                   9   242 Cal. App. 4th 674, 688–89 (2015).
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                                  10           Two cases are instructive.    In Rosenthal, the court

                                  11   considered whether an investment agreement’s arbitration clause

                                  12   could be enforced against several individuals who spoke and

                                  13   understood very little English.      Rosenthal, 14 Cal. 4th at 427.

                                  14   The investment company representative purported to translate the

                                  15   English-language agreement orally, but did not mention the

                                  16   agreement’s arbitration clause.      Id.   The court held that the

                                  17   individuals reasonably relied on the representative’s statements

                                  18   given their previous relationship with the company, their limited

                                  19   ability to understand English, and the representations that the

                                  20   oral translation was accurate.       Id. at 427-28.    The court

                                  21   concluded that this was enough to show fraudulent inducement.

                                  22   Id.

                                  23           Similarly, in Ramos, the court considered whether a car

                                  24   purchase contract’s arbitration clause could be enforced against

                                  25   a plaintiff whose primary language was Spanish, not English.

                                  26   Ramos, 242 Cal. App. 4th at 686-87.        The plaintiff and the car

                                  27   company’s representative negotiated the contract in Spanish.         Id.

                                  28   The representative then provided the plaintiff “with what
                                                                            7
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                                   1   purported to be a translation of the English language contract he

                                   2   was about to sign.”    Id. at 687.       The representative did not

                                   3   advise the plaintiff of the contract’s arbitration clause.           Id.

                                   4   The court held that the plaintiff reasonably relied on the

                                   5   Spanish translation, which did not disclose the arbitration

                                   6   clause, in signing the agreement.        Id.   The court concluded that

                                   7   there was fraud in the execution of the arbitration clause, which

                                   8   could not be enforced to compel arbitration.        Id. at 688.

                                   9        Here, Plaintiffs have sufficiently shown that LBN
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                                  10   fraudulently concealed the arbitration clause.         The parties agree

                                  11   that LBN did not provide Plaintiffs with a written Spanish

                                  12   version of the arbitration clause.        The “key facts” sheet does

                                  13   not mention the arbitration clause.        See SAC, Ex. A.    Instead,

                                  14   LBN contends that it translated the entire contract (including

                                  15   the arbitration clause) into Spanish orally.        But Plaintiffs each

                                  16   testified that LBN representatives did not translate or explain

                                  17   the arbitration clause.     Persinger Decl., Ex. A (Vasquez Depo.)

                                  18   at 67, 69-70, 114-115; Ex. B (Molina Depo.) at 49-50, 53-55, 58,

                                  19   107; Ex. C (Ortiz Depo.) at 75, 79-83, 131.        And LBN’s own

                                  20   evidence shows that it is unlikely that its representatives

                                  21   translated the arbitration clause into Spanish for Plaintiffs.

                                  22   David Dow See, the LBN representative who oversees the verbal

                                  23   translation process, testified that he could not recall whether

                                  24   representatives translated the arbitration clause for potential

                                  25   clients.   Persinger Decl., Ex. D (Dow See Depo.) at 49:1-51:6.

                                  26   He could not even say what Spanish word would be used to

                                  27   translate the term “arbitration.”        Id. at 51:6-14.   He also

                                  28   testified that there was no policy or manual that tells
                                                                            8
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                                   1   representatives how to translate “arbitration” from Spanish to

                                   2   English.    Id. at 51:15-21.   Accordingly, it is likely that LBN

                                   3   representatives did not disclose the arbitration clause to

                                   4   Plaintiffs during the sign-up process.

                                   5        Plaintiffs only speak and read Spanish and are not

                                   6   proficient in English.     SAC ¶¶ 78, 87, 95, 105, 112, 123.      LBN

                                   7   representatives purported to translate the English-language

                                   8   contract into Spanish orally.      Thus, Plaintiffs reasonably relied

                                   9   on LBN’s oral representations and “key facts” sheet as accurate
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                                  10   translations of the English-language agreements.         Ramos, 242 Cal.

                                  11   App. 4th at 690 (finding fraudulent inducement where defendant

                                  12   presented plaintiff with what purported to be a Spanish

                                  13   translation of an English translation, which in fact “completely

                                  14   omitted the arbitration agreement” defendant later sought to

                                  15   enforce).   Moreover, Plaintiffs were asylum-seekers who depended

                                  16   on LBN for lodging and transportation.       They also testified that,

                                  17   based on LBN’s representations, and the fact that LBN had already

                                  18   collected thousands of dollars from their relatives, they thought

                                  19   the agreement was already a done deal.       Vasquez Depo. at 51;

                                  20   Molina Depo. at 35-36; Ortiz Depo. at 34, 49, 79, 121, 136.

                                  21   Under the circumstances, Plaintiffs reasonably relied on LBN’s

                                  22   representations.    Rosenthal, 14 Cal. 4th at 428 (holding that if

                                  23   true, plaintiffs’ allegations of a prior relationship with

                                  24   defendant, their limited ability to understand English, and

                                  25   defendant’s representations that its oral representations

                                  26   accurately reflected the terms of the agreement were sufficient

                                  27   to show fraudulent inducement).      LBN therefore fraudulently

                                  28   induced Plaintiffs to sign the arbitration clause, which is void
                                                                            9
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                                   1   and cannot be enforced.

                                   2                2.   McGill
                                   3         Plaintiffs also argue that the arbitration clause is

                                   4   unenforceable under McGill.     In McGill, the California Supreme

                                   5   Court held that an arbitration provision “is invalid and

                                   6   unenforceable under state law insofar as it purports to waive” a

                                   7   plaintiff’s right to seek “public injunctive relief.”         McGill, 2

                                   8   Cal. 5th at 961.    This arises from California Civil Code section

                                   9   3513, a generally applicable contractual defense which provides
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                                  10   that “a law established for a public reason cannot be contravened

                                  11   by a private agreement.”     Id. (quotations omitted).      There,

                                  12   McGill brought claims under the UCL, false advertising law, and

                                  13   the CLRA targeting Citibank’s advertising and marketing

                                  14   practices.    Id. at 956-57.    Citibank sought to enforce its

                                  15   arbitration agreement against McGill’s claims, which required

                                  16   arbitration of all claims on an individual basis and prohibited

                                  17   class actions.    Id. at 952.   The court ruled that the arbitration

                                  18   agreement would prevent McGill from requesting public injunctive

                                  19   relief in any forum, which would “seriously compromise the public

                                  20   purposes the statutes were intended to serve.”        Id. at 961.

                                  21   Accordingly, the arbitration agreement could not be enforced.

                                  22   Id.

                                  23         Here, the GPS Monitoring Agreement’s arbitration clause

                                  24   requires individual arbitration of all claims, so long as a party

                                  25   requests it, as LBN seeks to do.      The arbitration clause further

                                  26   states that any right to arbitrate a class action is “expressly

                                  27   waived.”   As in McGill, the arbitration agreement purports to

                                  28   waive Plaintiffs’ right to request public injunctive relief.
                                                                           10
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                                   1   Enforcing such an agreement would “seriously compromise the

                                   2   public purposes” of the UCL, CLRA, and other statutes.

                                   3   Accordingly, the arbitration clause cannot be enforced.

                                   4        LBN responds that McGill does not apply because this case

                                   5   affects only a few thousand detainees crossing the border and

                                   6   thus does not seek public injunctive relief.        But the number of

                                   7   detainees is not determinative.      Instead, the Court looks at the

                                   8   nature of the relief sought.     The McGill court distinguished

                                   9   between “private injunctive relief,” or “relief that primarily
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                                  10   resolves a private dispute between the parties and rectifies

                                  11   individual wrongs,” from “public injunctive relief,” or “relief

                                  12   that by and large benefits the general public.”        Id. at 955

                                  13   (internal citations and punctuation omitted).        Here, Plaintiffs

                                  14   seek an “order enjoining LBN from continuing to violate the UCL,

                                  15   CLRA, California Translation Act, FDCPA, and RFDCPA.”         FAC at 28.

                                  16   Plaintiffs’ complaint targets false and misleading statements in

                                  17   LBN’s marketing materials, disclosures, and contracts, among

                                  18   other things.   See, e.g., SAC ¶¶ 32 (describing

                                  19   misrepresentations in disclosures and contracts); 35 (describing

                                  20   misleading information on LBN’s website).         The proposed

                                  21   injunction will not benefit the named Plaintiffs directly,

                                  22   “because the plaintiff has already been injured, allegedly, by

                                  23   such practices and is aware of them.”       Id.   Rather, the proposed

                                  24   injunction is intended to benefit members of the public who are

                                  25   exposed to LBN’s false and deceptive business practices.          See id.

                                  26   at 957 (holding that claims seeking to enjoin Citibank’s “unfair,

                                  27   deceptive, and misleading advertising, and material omissions”

                                  28   requested public injunctive relief).       Plaintiffs’ proposed
                                                                           11
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                                   1   injunction therefore falls squarely into the definition of public

                                   2   injunctive relief provided by McGill.

                                   3              3.   Other arguments
                                   4         Plaintiffs also contend that the arbitration clause cannot

                                   5   be enforced because of the CTA and that the scope of the

                                   6   arbitration clause does not cover their claims.        Because the

                                   7   Court has already determined that the arbitration clause is void

                                   8   and unenforceable, it need not reach these arguments.

                                   9         In sum, because the GPS Monitoring Agreement’s arbitration
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                                  10   clause is void because of fraudulent inducement and unenforceable

                                  11   under McGill, LBN’s motion to compel arbitration must be denied.

                                  12   II.   Motion to dismiss
                                  13         A.   Legal standard
                                  14         A complaint must contain a “short and plain statement of the

                                  15   claim showing that the pleader is entitled to relief.”            Fed. R.

                                  16   Civ. P. 8(a).   The plaintiff must proffer “enough facts to state

                                  17   a claim to relief that is plausible on its face.”         Ashcroft v.

                                  18   Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

                                  19   Twombly, 550 U.S. 544, 570 (2007)).      On a motion under Rule

                                  20   12(b)(6) for failure to state a claim, dismissal is appropriate

                                  21   only when the complaint does not give the defendant fair notice

                                  22   of a legally cognizable claim and the grounds on which it rests.

                                  23   Twombly, 550 U.S. at 555.     A claim is facially plausible “when

                                  24   the plaintiff pleads factual content that allows the court to

                                  25   draw the reasonable inference that the defendant is liable for

                                  26   the misconduct alleged.”     Iqbal, 556 U.S. at 678.

                                  27         In considering whether the complaint is sufficient to state

                                  28   a claim, the court will take all material allegations as true and
                                                                           12
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                                   1   construe them in the light most favorable to the plaintiff.

                                   2   Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049,

                                   3   1061 (9th Cir. 2008).    The court’s review is limited to the face

                                   4   of the complaint, materials incorporated into the complaint by

                                   5   reference, and facts of which the court may take judicial notice.

                                   6   Id. at 1061.   However, the court need not accept legal

                                   7   conclusions, including threadbare “recitals of the elements of a

                                   8   cause of action, supported by mere conclusory statements.”

                                   9   Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).
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                                  10        B.   Discussion
                                  11        LBN moves for dismissal pursuant to Federal Rule of Civil

                                  12   Procedure 12(b)(6) on two counts: the FDCPA claim (Count VI) and

                                  13   the CTA claim (Count V).

                                  14             1.    FDCPA claim
                                  15        LBN asserts that Plaintiffs’ FDCPA claim cannot be sustained

                                  16   because it is not a debt collector under the FDCPA.         The FDCPA

                                  17   applies to debt collectors, which it defines as either: “any

                                  18   person who uses any instrumentality of interstate commerce or the

                                  19   mails in any business the principal purpose of which is the

                                  20   collection of any debts, or who regularly collects or attempts to

                                  21   collect, directly or indirectly, debts owed or due or asserted to

                                  22   be owed or due another.”     15 U.S.C. § 1692a(6).     LBN asserts that

                                  23   debt collection is not its principal purpose and it does not

                                  24   collect debts that are owed or due another.

                                  25        The SAC makes clear that LBN’s business model is to collect

                                  26   fees to indemnify a third-party bond company.        See, e.g., SAC

                                  27   ¶ 171 (“LBN’s Lease Agreements serve as a loan or extension of

                                  28   credit for the percentage of bail paid by a third-party bail
                                                                           13
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                                   1   bondsmen.”); ¶ 65 (“the fees represent a hidden indemnification

                                   2   fee that LBN charges for indemnifying immigration bail bonds it

                                   3   procures for third parties.”).      Construing Plaintiffs’

                                   4   allegations in the light most favorable to them, a portion of the

                                   5   collected fees could go to third-party bond companies.            This

                                   6   would mean that LBN collects debts on behalf of another, the

                                   7   third-party bond companies.     Thus, Plaintiffs have stated a claim

                                   8   under the FDCPA.    If LBN contends that it does not pass along any

                                   9   fees to third parties, then that is a matter for summary judgment
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                                  10   after discovery.

                                  11        In their reply brief, LBN appears to argue that Plaintiffs

                                  12   fail to allege other elements of the FDCPA.        Because these

                                  13   arguments were not raised in the opening brief, they are waived.

                                  14                2.   CTA claim
                                  15        LBN contends that Plaintiffs’ CTA claim must be dismissed.

                                  16   The CTA provides:

                                  17        (b)Any person engaged in a trade or business who
                                            negotiates primarily in Spanish, Chinese, Tagalog,
                                  18        Vietnamese, or Korean, orally or in writing, in the
                                            course of entering into any of the following, shall
                                  19        deliver to the other party to the contract or agreement
                                            and prior to the execution thereof, a translation of
                                  20        the contract or agreement in the language in which the
                                            contract or agreement was negotiated, that includes a
                                  21        translation of every term and condition in that
                                            contract or agreement:
                                  22
                                            . . .
                                  23
                                            (2) A loan or extension of credit secured other than by
                                  24        real property, or unsecured, for use primarily for
                                            personal, family, or household purposes.
                                  25
                                            If a business fails to comply with this section, the
                                  26
                                       consumer “may rescind the contract or agreement.”         Cal. Civ. Code
                                  27
                                       § 1632(k).    LBN asserts that the CTA claim is time-barred.         The
                                  28
                                                                           14
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                                   1   statute of limitations for this claim is one year.         See Cal. Code

                                   2   Civ. Proc. § 340(a) (“An action upon a statute for a penalty or

                                   3   forfeiture, if the action is given to an individual, or to an

                                   4   individual and the state, except if the statute imposing it

                                   5   prescribes a different limitation.”).       See also Legrama v.

                                   6   Fremont Inv. & Loan, No. C 10-02945 MEJ, 2010 WL 5071600, at *11

                                   7   (N.D. Cal. Dec. 7, 2010); Delino v. Platinum Comm. Bank, 628 F.

                                   8   Supp. 2d 1226, 1234 (S.D. Cal. 2009).

                                   9           LBN contends that Plaintiffs’ suit is barred because
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                                  10   Plaintiffs all signed their contracts with LBN more than one year

                                  11   before the filing date of this case, February 15, 2017.           Vasquez

                                  12   signed on February 10, 2016.     Molina signed on February 11, 2016.

                                  13   Ortiz signed on June 4, 2015.

                                  14           Plaintiffs respond that the statute of limitations should

                                  15   equitably be tolled, especially with respect to Vasquez and

                                  16   Molina, who missed the deadline for filing suit by less than five

                                  17   days.    Plaintiffs argue that equitable tolling would “soften the

                                  18   harsh impact of technical rules which might otherwise prevent a

                                  19   good faith litigant from having a day in court.”        Daviton v.

                                  20   Columbia/HCA Healthcare Corp., 241 F.3d 1131, 1137 (9th Cir.

                                  21   2001).    Plaintiffs misunderstand the doctrine of equitable

                                  22   tolling, however.    This doctrine applies where these elements are

                                  23   present: the defendant received timely notice of the plaintiff’s

                                  24   claims, the defendant will not be prejudiced, and the plaintiff

                                  25   engaged in good faith and reasonable conduct, for example, by

                                  26   seeking another remedy.    Id. at 1137.     The doctrine does not

                                  27   apply simply because Plaintiffs missed the deadline by only a few

                                  28   days.
                                                                           15
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                                   1        Plaintiffs do, however, make another argument for equitable

                                   2   tolling.    They contend that the doctrine should apply because LBN

                                   3   fraudulently concealed Plaintiffs’ claims.        A “statute of

                                   4   limitations may be tolled if the defendant fraudulently concealed

                                   5   the existence of a cause of action in such a way that the

                                   6   plaintiff, acting as a reasonable person, did not know of its

                                   7   existence.”   In re Animation Workers Antitrust Litig., 123 F.

                                   8   Supp. 3d 1175, 1194 (N.D. Cal. 2015).       The plaintiff bears the

                                   9   burden of pleading and proving fraudulent concealment, which
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                                  10   requires that: “(1) the defendant took affirmative acts to

                                  11   mislead the plaintiff; (2) the plaintiff did not have actual or

                                  12   constructive knowledge of the facts giving rise to its claim; and

                                  13   (3) the plaintiff acted diligently in trying to uncover the facts

                                  14   giving rise to its claim.”     Id. (internal quotation marks

                                  15   omitted).   Here, Plaintiffs allege that LBN deceived Plaintiffs

                                  16   by giving them English-language disclosures and agreements while

                                  17   providing a limited and misleading oral translation and “key

                                  18   facts” sheet in Spanish.     Plaintiffs allege that this disguised

                                  19   the facts giving rise to their claims.       The complaint does not,

                                  20   however, allege the other two prongs of fraudulent concealment,

                                  21   i.e., that Plaintiffs did not have actual or constructive

                                  22   knowledge of the facts giving rise to their claims and that they

                                  23   acted diligently to try to uncover the facts giving rise to their

                                  24   claims.    For example, Plaintiffs do not allege that they did not

                                  25   know that the “key facts” sheet was not an accurate translation

                                  26   of the agreements and that they sought an English translation

                                  27   once they knew or had reason to know of this fact.         Accordingly,

                                  28   the Court dismisses the CTA with leave to amend to add such
                                                                           16
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                                   1   allegations, if Plaintiffs can truthfully do so.

                                   2   III. Motion for sanctions
                                   3        A.    Legal standard
                                   4        Rule 11 provides that by “presenting to the court a

                                   5   pleading, written motion, or other paper . . . an attorney or

                                   6   unrepresented party certifies that to the best of the person’s

                                   7   knowledge, information, and belief, formed after an inquiry

                                   8   reasonable under the circumstances,” it is not being presented

                                   9   for “improper purpose, such as to harass, cause unnecessary
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                                  10   delay, or needlessly increase the cost of litigation,” and that

                                  11   the legal and factual allegations are not frivolous and have a

                                  12   proper basis.   The movant must comply with the safe harbor

                                  13   requirements of Rule 11(c)(2), which requires that the motion

                                  14   must first be served and must not be filed “if the challenged

                                  15   paper, claim, defense, contention, or denial is withdrawn or

                                  16   appropriately corrected within 21 days after service or within

                                  17   another time the court sets.”

                                  18        B.    Discussion
                                  19        LBN brings a motion for Rule 11 sanctions against Plaintiffs

                                  20   and their attorneys.    LBN’s Rule 11 motion relies on the same

                                  21   grounds as its motion to dismiss: that Plaintiffs’ FDCPA and CTA

                                  22   claims are barred as a matter of law and lack evidentiary

                                  23   support.   LBN served its Rule 11 motion on Plaintiffs on June 26,

                                  24   2017, satisfying the safe harbor requirement of Rule 11(c)(2).

                                  25        As discussed above, Plaintiffs’ FDCPA claim survives Rule

                                  26   12(b)(6) scrutiny.    Thus, the FDCPA claim is not frivolous and

                                  27   has proper legal and factual basis.      LBN’s motion is denied with

                                  28   respect to this claim.
                                                                           17
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                                   1           As for the CTA claim, Plaintiffs could still allege facts

                                   2   showing fraudulent concealment, which would support equitable

                                   3   tolling of the statute of limitations.       In any event, the Court

                                   4   finds that Plaintiffs’ allegations in support of this claim are

                                   5   not so frivolous as to merit an award of Rule 11 sanctions.

                                   6   LBN’s motion is therefore denied with respect to this claim as

                                   7   well.

                                   8                                  CONCLUSION
                                   9           LBN’s motion to compel arbitration (Docket No. 35) is
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                                  10   DENIED.    LBN’s motion to dismiss (Docket No. 34) is DENIED with

                                  11   respect to the FDCPA claim and GRANTED with respect to the CTA

                                  12   claim.    Plaintiffs shall have twenty-one days to amend their CTA

                                  13   claim.    LBN’s motion for sanctions (Docket No. 65) is DENIED.

                                  14           IT IS SO ORDERED.

                                  15   Dated: August 20, 2018
                                                                                CLAUDIA WILKEN
                                  16                                            United States District Judge
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